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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                              Check if this is an
                                                                        Chapter 13
                                                                                                                              amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Pamela
     government-issued picture
                                       First Name                                                First Name
     identification (for example,
     your driver's license or          Renee
     passport).                        Middle Name                                               Middle Name

                                       Riley
     Bring your picture                Last Name                                                 Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)


2.   All other names you               Mrs. William
     have used in the last 8           First Name                                                First Name
     years                             Steven
                                       Middle Name                                               Middle Name
     Include your married or
                                       Riley, Jr.
     maiden names.
                                       Last Name                                                 Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   9        0       2     9     xxx – xx –
     number or federal                 OR                                                        OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
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Debtor 1     Pamela Renee Riley                                                             Case number (if known)

                                   About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                    I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers        Neighborhood Academy
     (EIN) you have used in        Business name                                                Business name
     the last 8 years
                                   Business name                                                Business name
     Include trade names and
     doing business as names
                                   Business name                                                Business name

                                    3       2   –     0    1    2     7     5    8      1                   –
                                   EIN                                                          EIN
                                                –                                                           –
                                   EIN                                                          EIN
5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   9706 Wayne Avenue
                                   Number       Street                                          Number      Street




                                   Lubbock                          TX       79424-4817
                                   City                             State    ZIP Code           City                           State    ZIP Code

                                   Lubbock
                                   County                                                       County

                                   If your mailing address is different from                    If Debtor 2's mailing address is different
                                   the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                   court will send any notices to you at this                   will send any notices to you at this mailing
                                   mailing address.                                             address.



                                   Number       Street                                          Number      Street


                                   P.O. Box                                                     P.O. Box


                                   City                             State    ZIP Code           City                           State    ZIP Code


6.   Why you are choosing          Check one:                                                   Check one:
     this district to file for
     bankruptcy                            Over the last 180 days before filing this                   Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.

                                           I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                Chapter 7

                                          Chapter 11

                                          Chapter 12

                                          Chapter 13


Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Pamela Renee Riley                                                      Case number (if known)

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Pamela Renee Riley                                                        Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Pamela Renee Riley                                                          Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Pamela Renee Riley                                                        Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Pamela Renee Riley                                                        Case number (if known)


 Part 7:      Sign Below
For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                  and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                  or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                  proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                  fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                  connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                  or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                  X /s/ Pamela Renee Riley                                    X
                                     Pamela Renee Riley, Debtor 1                                 Signature of Debtor 2

                                     Executed on 06/28/2019                                       Executed on
                                                 MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Pamela Renee Riley                                                       Case number (if known)

For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                  relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                is incorrect.



                                  X /s/ Elizabeth S. Huffman                                            Date 06/28/2019
                                     Signature of Attorney for Debtor                                        MM / DD / YYYY


                                     Elizabeth S. Huffman
                                     Printed name
                                     Elizabeth S. Huffman
                                     Firm Name
                                     Law Office of Elizabeth S. Huffman
                                     Number          Street
                                     1706 14th Street




                                     Lubbock                                                    TX              79401-3826
                                     City                                                       State           ZIP Code


                                     Contact phone (806) 762-2744                     Email address huffmanlaw@sbcglobal.net


                                     00787734
                                     Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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 Fill in this information to identify your case:
 Debtor 1                Pamela                        Renee                         Riley
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $375,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $119,473.00
     1b. Copy line 62, Total personal property, from Schedule A/B....................................................................................................................................................


                                                                                                                                                                            $494,473.00
     1c. Copy line 63, Total of all property on Schedule A/B..............................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $450,580.63
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $10,787.44
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $243,034.13
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $704,402.20




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,753.87
     Copy your combined monthly income from line 12 of Schedule I..................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $2,603.87




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Pamela Renee Riley                                                           Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $666.66


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $2,400.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                         $20,730.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                     $23,130.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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  Fill in this information to identify your case and this filing:
  Debtor 1               Pamela                      Renee                Riley
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
9706 Wayne Ave                                             Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Lubbock                          TX       79424                Manufactured or mobile home                               $375,000.00                  $375,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Lubbock                                                                                                      entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Fee Simple
                                                           Who has an interest in the property?
Homestead at 9706 Wayne Ave,
                                                           Check one.
Lubbock, TX
                                                               Debtor 1 only                                      Check if this is community property
Lot 795 of Lakeridge Country Club
                                                               Debtor 2 only                                      (see instructions)
Estates Addition to the City of
Lubbock, Lubbock County, Texas                                 Debtor 1 and Debtor 2 only
including any and all improvements                             At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $375,000.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Pamela Renee Riley                                                                  Case number (if known)


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Yukon XL
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2015
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 72,000                                 At least one of the debtors and another            $35,000.00                           $35,000.00
Other information:
2015 GMC Yukon XL (approx. 72,000                           Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F-150 Raptor
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2018
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $75,998.00                           $75,998.00
Other information:
2018 Ford F-150 Raptor (debtor's                            Check if this is community property
estranged spouse has this vehicle; do                       (see instructions)
not know if this truck has already
been repossessed or not; Debtor
wishes to surrender any interest she
might have in this vehicle)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................           $110,998.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $4,825.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1         Pamela Renee Riley                                                                                  Case number (if known)

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                    $750.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Bicycles (estranged spouse has possession of these items)                                                                                    $500.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                     $300.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                      $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                2 Pet Yorkies                                                                                                                              $1,000.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $7,875.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.


Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Pamela Renee Riley                                                                                                Case number (if known)

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
                                                                                                                                                                                                                  $350.00
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

            17.1.       Checking account:                      First Bank & Trust Checking account no ******9745                                                                                           $250.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                          % of ownership:

                                               Stock in Neighborhood Academy (S Corp; Debtor and
                                               her estranged spouse owned this business jointly;
                                               business was sold; do not believe there is any value in
                                               stock)                                                                                                          100%                                    Unknown
                                               15% interest in Optimized Fitness (Debtor's estranged
                                               spouse works here and draws a salary; unknown
                                               value of any interest she might have as the 15% was
                                               given to William by his business partner, Dr. Richard
                                               Henderson)                                                                                                       15%                                    Unknown
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.               Type of account:                   Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Pamela Renee Riley                                                                   Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:




Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
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Debtor 1         Pamela Renee Riley                                                                                  Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................       $600.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Pamela Renee Riley                                                                                 Case number (if known)

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Pamela Renee Riley                                                                                         Case number (if known)

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

             No
             Yes..............................


50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                        $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $375,000.00

56. Part 2: Total vehicles, line 5                                                                                $110,998.00

57. Part 3: Total personal and household items, line 15                                                               $7,875.00

58. Part 4: Total financial assets, line 36                                                                              $600.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................         $119,473.00               property total                 +          $119,473.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $494,473.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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Debtor 1     Pamela Renee Riley                                            Case number (if known)


6.   Household goods and furnishings (details):

     Stove and Microwave                                                                                        $200.00

     Refrigerator and Freezer                                                                                   $700.00

     Dishwasher                                                                                                 $400.00

     Washer and Dryer                                                                                           $700.00

     Bedroom Furniture                                                                                          $500.00

     Silverware, dishes and cookware                                                                            $200.00

     Household Tools                                                                                            $100.00

     Misc Decor                                                                                                 $600.00

     Dining Room Furniture                                                                                      $500.00

     Den Furniture                                                                                              $150.00

     Books                                                                                                      $500.00

     Desk                                                                                                        $75.00

     Lawn Equipment (mower, edger, weed eater, blower, etc.) (estranged spouse has possession of                $200.00
     these items)
7.   Electronics (details):

     Cell Phones                                                                                                $200.00

     Televisions-3 and DVD Player                                                                               $550.00




Official Form 106A/B                              Schedule A/B: Property                                             page 9
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 Fill in this information to identify your case:
 Debtor 1            Pamela               Renee                  Riley
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $375,000.00                 $63,297.83          Const. art. 16 §§ 50, 51, Texas
Homestead at 9706 Wayne Ave, Lubbock,                                             100% of fair market     Prop. Code §§ 41.001-.002
TX                                                                                value, up to any
Lot 795 of Lakeridge Country Club Estates                                         applicable statutory
Addition to the City of Lubbock, Lubbock                                          limit
County, Texas including any and all
improvements
Line from Schedule A/B:  1.1

Brief description:                                         $35,000.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2015 GMC Yukon XL (approx. 72,000 miles)                                          100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Pamela Renee Riley                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Stove and Microwave                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $700.00                  $700.00           Tex. Prop. Code §§ 42.001(a),
Refrigerator and Freezer                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $700.00                  $700.00           Tex. Prop. Code §§ 42.001(a),
Washer and Dryer                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Bedroom Furniture                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Silverware, dishes and cookware                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Household Tools                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $600.00           Tex. Prop. Code §§ 42.001(a),
Misc Decor                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Dining Room Furniture                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Pamela Renee Riley                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Den Furniture                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Books                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
Desk                                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Lawn Equipment (mower, edger, weed                                           100% of fair market    42.002(a)(1)
eater, blower, etc.) (estranged spouse has                                   value, up to any
possession of these items)                                                   applicable statutory
Line from Schedule A/B:    6                                                 limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Cell Phones                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $550.00                  $550.00           Tex. Prop. Code §§ 42.001(a),
Televisions-3 and DVD Player                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Bicycles (estranged spouse has                                               100% of fair market    42.002(a)(8)
possession of these items)                                                   value, up to any
Line from Schedule A/B: 9                                                    applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Clothing                                                                     100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Jewelry                                                                      100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Pamela Renee Riley                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
2 Pet Yorkies                                                                100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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  Fill in this information to identify your case:
  Debtor 1             Pamela                 Renee                 Riley
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $75,998.00              $75,998.00
Ford Motor Credit Company, LLC
Creditor's name
                                                 2018 Ford F-150 Raptor
P.O. Box 62180
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Colorado Springs CO              80962               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred           11/18/2017      Last 4 digits of account number        7     9    0    1
She does not have possession of this vehicle; she wishes to surrender her interest back to Ford in full satisfaction of the
debt; she does not know if the truck has already been repossesed by Ford or not




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $75,998.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                       page 1
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Debtor 1      Pamela Renee Riley                                                          Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $38,000.00             $375,000.00
IRS
Creditor's name
                                              Property in Lubbock County
P.O. Box 7346
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Philadelphia            PA      19101-7346        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Federal Tax Lien
   to a community debt
Date debt was incurred          2016          Last 4 digits of account number
Tax lien from 2014 and 2015 taxes
  2.3                                         Describe the property that
                                              secures the claim:                                $676.46                 $676.46
Lubbock Central Appr. Dist.
Creditor's name
                                              FFME& Inventory with Vehicle
C/o Laura J. Monroe
Number     Street
P.O. Box 817
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lubbock                 TX      79408             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred          2018          Last 4 digits of account number        4     7    4    9
Business was sold in 2019, so they should not be liable for any future property taxes to LCAD




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $38,676.46

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Pamela Renee Riley                                                          Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $42,204.00              $35,000.00         $7,204.00
Wells Fargo Auto
Creditor's name
                                              2015 GMC Yukon XL Denali
MACT 9017-026
Number     Street
P.O. Box 168048
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Irving                  TX      75016             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          12/27/2016    Last 4 digits of account number        5     9    2    3
approx 72k miles
  2.5                                         Describe the property that
                                              secures the claim:                           $273,702.17             $375,000.00
Wells Fargo Home Mortgage
Creditor's name
                                              Homestead
P.O. Box 10335
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Des Moines              IA      50306             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $315,906.17

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1      Pamela Renee Riley                                                           Case number (if known)

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.6                                          Describe the property that
                                               secures the claim:                            $14,000.00             $375,000.00
Wells Fargo Home Mortgage
Creditor's name
                                               Homestead
P.O. Box 10335
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Des Moines              IA      50306              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage arrears
   to a community debt
Date debt was incurred          Various        Last 4 digits of account number

  2.7                                          Describe the property that
                                               secures the claim:                              $6,000.00            $375,000.00
Wells Fargo Home Mortgage
Creditor's name
                                               Homestead
P.O. Box 10335
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Des Moines              IA      50306              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage arrears
   to a community debt
Date debt was incurred          7/1/19-8/31/19 Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $20,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $450,580.63

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4
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  Fill in this information to identify your case:
  Debtor 1             Pamela                Renee                  Riley
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $1,083.96           $1,083.96                $0.00
Diane Lara
Priority Creditor's Name                                   Last 4 digits of account number
2609 Colgate Street                                        When was the debt incurred?          2019
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Lubbock                         TX      79415                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?                                Wages, Salaries, and Commissions
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Pamela Renee Riley                                                       Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority        Nonpriority
previous page.                                                                                                   amount          amount


   2.2                                                                                            $2,200.00          $2,200.00          $0.00
Elizabeth S. Huffman
Priority Creditor's Name                              Last 4 digits of account number
Attorney at Law                                       When was the debt incurred?        06/27/2019
Number       Street
1706 14th Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Lubbock                    TX      79401-3826             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?                           Attorney fees for this case
     No
     Yes

   2.3                                                                                            $2,400.00          $2,400.00          $0.00
IRS
Priority Creditor's Name                              Last 4 digits of account number
P.O. Box 7346                                         When was the debt incurred?        2019
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes
Neigborhood Academy




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor 1       Pamela Renee Riley                                                       Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority        Nonpriority
previous page.                                                                                                   amount          amount


   2.4                                                                                              $810.78           $810.78           $0.00
Reagan Durham
Priority Creditor's Name                              Last 4 digits of account number
304 LaSalle Dr                                        When was the debt incurred?        2019
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Clovis                     NM      88101                  Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?                           Wages, Salaries, and Commissions
     No
     Yes

   2.5                                                                                            $1,513.32          $1,513.32          $0.00
Texas Workforce Commission
Priority Creditor's Name                              Last 4 digits of account number
Attn: Rick Diaz                                       When was the debt incurred?        2019
Number       Street
101 E 15th St, Rm 556                                 As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                     TX      78778-0001             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?                           Wages, Salaries, and Commissions
     No
     Yes

   2.6                                                                                            $2,779.38          $2,779.38          $0.00
Texas Workforce Commission
Priority Creditor's Name                              Last 4 digits of account number
Attn: Rick Diaz                                       When was the debt incurred?        2019
Number       Street
101 E 15th St, Rm 556                                 As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                     TX      78778-0001             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?                           Wages, Salaries, and Commissions
     No
     Yes

Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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Debtor 1       Pamela Renee Riley                                                               Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $63,000.00
Air Evac Lifeteam                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           6/11/2017
1001 Boardwalk Springs Place
Number        Street                                        As of the date you file, the claim is: Check all that apply.
#250                                                            Contingent
                                                                Unliquidated
                                                                Disputed
O'Fallon                        MO      63368
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Expense
Is the claim subject to offset?
     No
     Yes
Minor son was air lifted from Abilene to Lubbock

     4.2                                                                                                                                        $20,000.00
American Express                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
777 American Expressway
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Ft. Lauderdale                  FL      33337-0001
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 4
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                                $216.00
Atmos Energy                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Bankruptcy Group
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 650205                                              Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265-0205
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utility Expense
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $500.00
Canon Financial                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 5008
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mt. Laurel                    NJ      08054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Copier Lease
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 5
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.5                                                                                                                                $789.00
Capital One                                              Last 4 digits of account number      9 7 0           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/26/2005
P.O. Box 30285
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130-0285
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                              $1,191.00
Capital One                                              Last 4 digits of account number      2 9 7           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/11/2005
P.O. Box 30285
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130-0285
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.7                                                                                                                                $214.00
Collectech Diversified                                   Last 4 digits of account number      2 1        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        3/7/2018
P.O. Box 12027
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79452
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for-Covenant Med Grp
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $118.00
Cook Children's Pediatric                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
410 Lone Star Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79602
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.9                                                                                                                                $640.00
Covenant Health System                                   Last 4 digits of account number       2    3    8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 1201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79408-1201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $200.00
Culligan of Lubbock                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6024 43rd Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79407
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Water Purification Service
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                 Total claim
previous page.

  4.11                                                                                                                                $279.21
Custom Electronics                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1214 18th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79401
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Alarm Monitoring
Is the claim subject to offset?
     No
     Yes

  4.12                                                                                                                              $4,000.00
David & Sherelle Vaughn                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
3808 54th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79413
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Prepaid Tuition
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.13                                                                                                                              $1,935.00
Falcon Emergency Physicians                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1900 Pine St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79601
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                              $4,979.00
Hendrick Medical Center                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/2017
P.O. Box 3117
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79604
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes
Minor Son's Medical




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.15                                                                                                                                $279.00
Kohls/Chase                                              Last 4 digits of account number      7 1 1           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/26/2014
P.O. Box 3115
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Milwaukee                     WI      53201-3115
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                              $1,533.26
LP & L                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
City of Lubbock/Atty's Office
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 2000                                                Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79457
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utility Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                 Total claim
previous page.

  4.17                                                                                                                             $78,000.00
Lubbock National Bank                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/31/2018
P.O. Box 6100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79493-6100
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Line of Credit
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                              $2,386.28
Lubbock National Bank                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
P.O. Box 6100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79493-6100
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Overdrawn Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.19                                                                                                                              $1,020.00
Merrick Bank                                             Last 4 digits of account number      7 3 9           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/18/2006
P.O. Box 9201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804-9201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                             $12,756.00
Nelnet/US Dept of Education                              Last 4 digits of account number      7 4 7           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/12/2001
P.O. Box 82561
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501-2561
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.21                                                                                                                              $7,974.00
Nelnet/US Dept of Education                              Last 4 digits of account number      7 4 7           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/12/2001
P.O. Box 82561
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501-2561
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                 $70.00
Progressive Insurance                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6300 Wilson Mills Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mayfield Village              OH      44143
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                 Total claim
previous page.

  4.23                                                                                                                                 $90.00
Radiology Assoc of Abilene                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
401 Cypress #10
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79601
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                                $270.25
Scholastic Book Clubs                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1501 S Loop 289
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79423
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.25                                                                                                                              $1,125.00
South Taylor EMS                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1458 CR 314
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                 $57.02
Stonemark Inc                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8501 Wade Blvd, Ste 620
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                 Total claim
previous page.

  4.27                                                                                                                                $835.00
Sudden Link                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6710 Hartford Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79413
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                             $13,700.00
Swift Financial Corp                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
501 Carr Rd, Ste 301
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19809
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

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                                                                                                                                 Total claim
previous page.

  4.29                                                                                                                                $444.00
Target Bankruptcy Department                             Last 4 digits of account number      8 3 6           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/17/2007
P.O. Box 1327
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                   $0.00
The Degrasse Law Firm PC                                 Last 4 digits of account number       4    2    3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1800 Bering, Ste. 1000
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77057
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney for-American Express
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 18
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.31                                                                                                                              $1,482.00
Transworld Systems Inc                                   Last 4 digits of account number       2    8    6    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 15618
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5618
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                $601.11
US Foods                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
915 E 50th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79404
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 19
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.33                                                                                                                             $18,000.00
Vista Bank                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4515 98th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79424
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Account
Is the claim subject to offset?
     No
     Yes
Checking Acct No's: 9832; 2008; 2713; $13,614.17 due by 4/6/19 prior to lawsuit

  4.34                                                                                                                                $300.00
Waste Connections                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
5813 E FM 40
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79403
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Dumpster Service
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 20
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.35                                                                                                                              $4,050.00
Zachary & Marcie Miller                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Wagstaff LLP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 360                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Abilene                       TX      79604
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Tuition Advanced
Is the claim subject to offset?
     No
     Yes
Believe that new buyers of Neighborhood Academy assumed this obligation




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 21
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


A Plus Storage                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
10410 Slide Rd                                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Account                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Lubbock                         TX      79424
City                            State   ZIP Code


Allstate Auto Insurance                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 660598                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75266
City                            State   ZIP Code


Barrett Daffin Frappier et al                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4004 Belt Line Rd, Ste 100                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Attorney for-Wells Fargo            Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       4    4    1    0
Addison                         TX      75001
City                            State   ZIP Code


Chad Smith                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attorney at Law                                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Attorney for-Vista Bank
8008 Slide Road, Ste. 33                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Lubbock                         TX      79424-2828
City                            State   ZIP Code


Complete Payment Recovery Serv                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3500 5th St                                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Collecting for-Lubbock              Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Natl Bank
                                                            Last 4 digits of account number       9    8    5    6
Northport                       AL      35476
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 22
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Debtor 1     Pamela Renee Riley                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Ford Credit                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Customer Service Center                             Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
P.O. Box 542000                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number       7    9    0    1
Omaha                      NE      68154-8000
City                       State   ZIP Code


R. Michael McCauley, Jr.                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
McWhorter, Cobb & Johnson                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
P.O. Box 2547                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Lubbock                    TX      79408-2547
City                       State   ZIP Code


Tascosa Office Machines                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1502 Avenue Q                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Account                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Lubbock                    TX      79401
City                       State   ZIP Code


Waste Connections Inc.                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 2782                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Utility Service                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Lubbock                    TX      79408
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 23
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Debtor 1       Pamela Renee Riley                                                      Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $2,400.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $8,387.44


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $10,787.44




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $20,730.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $222,304.13


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $243,034.13




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 24
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 Fill in this information to identify your case:
 Debtor 1            Pamela               Renee                  Riley
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Pamela               Renee                   Riley
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      William Riley, Jr.
         Name                                                                                       Schedule D, line        2.5
         7503 Homestead Ave                                                                         Schedule E/F, line
         Number      Street
                                                                                                    Schedule G, line

         Lubbock                                   TX             79424                       Wells Fargo Home Mortgage
         City                                      State          ZIP Code


3.2      William Riley, Jr.
         Name                                                                                       Schedule D, line        2.4
         7503 Homestead                                                                             Schedule E/F, line
         Number      Street
                                                                                                    Schedule G, line

         Lubbock                                   TX             79424                       Wells Fargo Auto
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                         page 1
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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.3    William Riley, Jr.
       Name                                                                        Schedule D, line     2.2
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    IRS
       City                             State       ZIP Code


3.4    William Riley, Jr.
       Name                                                                        Schedule D, line     2.1
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Ford Motor Credit Company, LLC
       City                             State       ZIP Code


3.5    William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.28
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Swift Financial Corp
       City                             State       ZIP Code


3.6    William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.17
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Lubbock National Bank
       City                             State       ZIP Code


3.7    William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line    4.18
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Lubbock National Bank
       City                             State       ZIP Code


3.8    William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line    4.33
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Vista Bank
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                               page 2
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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.9    William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.2
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    American Express
       City                             State       ZIP Code


3.10   William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.11
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Custom Electronics
       City                             State       ZIP Code


3.11   William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.4
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Canon Financial
       City                             State       ZIP Code


3.12   William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.32
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    US Foods
       City                             State       ZIP Code


3.13   William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line    2.3
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    IRS
       City                             State       ZIP Code


3.14   William Riley, Jr.
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line    4.16
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    LP & L
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                               page 3
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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.15   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         4.3
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Atmos Energy
       City                             State       ZIP Code


3.16   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.27
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Sudden Link
       City                             State       ZIP Code


3.17   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         4.1
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Air Evac Lifeteam
       City                             State       ZIP Code


3.18   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.23
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Radiology Assoc of Abilene
       City                             State       ZIP Code


3.19   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.13
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Falcon Emergency Physicians
       City                             State       ZIP Code


3.20   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      4.8
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Cook Children's Pediatric
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 4
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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.21   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.25
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    South Taylor EMS
       City                             State       ZIP Code


3.22   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.14
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Hendrick Medical Center
       City                             State       ZIP Code


3.23   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.31
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Transworld Systems Inc
       City                             State       ZIP Code


3.24   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         4.9
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Covenant Health System
       City                             State       ZIP Code


3.25   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      2.5
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Texas Workforce Commission
       City                             State       ZIP Code


3.26   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      2.6
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Texas Workforce Commission
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.27   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.26
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Stonemark Inc
       City                             State       ZIP Code


3.28   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.22
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Progressive Insurance
       City                             State       ZIP Code


3.29   William Riley, Jr.
       Name                                                                      Schedule D, line      2.3
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Lubbock Central Appr. Dist.
       City                             State       ZIP Code


3.30   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.24
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Scholastic Book Clubs
       City                             State       ZIP Code


3.31   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.35
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Zachary & Marcie Miller
       City                             State       ZIP Code


3.32   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      5.6
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Ford Credit
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.33   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.30
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    The Degrasse Law Firm PC
       City                             State       ZIP Code


3.34   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.4
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Chad Smith
       City                             State       ZIP Code


3.35   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.7
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    R. Michael McCauley, Jr.
       City                             State       ZIP Code


3.36   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.5
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Complete Payment Recovery Serv
       City                             State       ZIP Code


3.37   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      5.1
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    A Plus Storage
       City                             State       ZIP Code


3.38   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      5.8
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Tascosa Office Machines
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.39   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         2.4
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Reagan Durham
       City                             State       ZIP Code


3.40   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         2.1
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Diane Lara
       City                             State       ZIP Code


3.41   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.9
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Waste Connections Inc.
       City                             State       ZIP Code


3.42   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.34
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Waste Connections
       City                             State       ZIP Code


3.43   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.10
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Culligan of Lubbock
       City                             State       ZIP Code


3.44   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.12
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    David & Sherelle Vaughn
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.45   William Riley, Jr.
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.2
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Allstate Auto Insurance
       City                             State       ZIP Code


3.46   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.1
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    A Plus Storage
       City                             State       ZIP Code


3.47   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         4.1
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Air Evac Lifeteam
       City                             State       ZIP Code


3.48   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.2
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Allstate Auto Insurance
       City                             State       ZIP Code


3.49   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      4.2
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    American Express
       City                             State       ZIP Code


3.50   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      4.3
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Atmos Energy
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.51   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.3
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Barrett Daffin Frappier et al
       City                             State       ZIP Code


3.52   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         4.4
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Canon Financial
       City                             State       ZIP Code


3.53   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.4
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Chad Smith
       City                             State       ZIP Code


3.54   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.5
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Complete Payment Recovery Serv
       City                             State       ZIP Code


3.55   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      4.8
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Cook Children's Pediatric
       City                             State       ZIP Code


3.56   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      4.9
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Covenant Health System
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.57   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.10
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Culligan of Lubbock
       City                             State       ZIP Code


3.58   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.11
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Custom Electronics
       City                             State       ZIP Code


3.59   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.12
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    David & Sherelle Vaughn
       City                             State       ZIP Code


3.60   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         2.1
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Diane Lara
       City                             State       ZIP Code


3.61   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.13
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Falcon Emergency Physicians
       City                             State       ZIP Code


3.62   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      5.6
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Ford Credit
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.63   Riley, Jr., William Steven
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.14
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Hendrick Medical Center
       City                             State       ZIP Code


3.64   Riley, Jr., William Steven
       Name                                                                        Schedule D, line     2.2
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    IRS
       City                             State       ZIP Code


3.65   Riley, Jr., William Steven
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         2.3
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    IRS
       City                             State       ZIP Code


3.66   Riley, Jr., William Steven
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                                         4.16
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    LP & L
       City                             State       ZIP Code


3.67   Riley, Jr., William Steven
       Name                                                                        Schedule D, line     2.3
       7503 Homestead                                                              Schedule E/F, line
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Lubbock Central Appr. Dist.
       City                             State       ZIP Code


3.68   Riley, Jr., William Steven
       Name                                                                        Schedule D, line
       7503 Homestead                                                              Schedule E/F, line    4.17
       Number        Street
                                                                                   Schedule G, line

       Lubbock                          TX          79424                    Lubbock National Bank
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.69   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.18
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Lubbock National Bank
       City                             State       ZIP Code


3.70   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.22
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Progressive Insurance
       City                             State       ZIP Code


3.71   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.7
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    R. Michael McCauley, Jr.
       City                             State       ZIP Code


3.72   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.23
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Radiology Assoc of Abilene
       City                             State       ZIP Code


3.73   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      2.4
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Reagan Durham
       City                             State       ZIP Code


3.74   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.24
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Scholastic Book Clubs
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.75   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.25
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    South Taylor EMS
       City                             State       ZIP Code


3.76   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.26
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Stonemark Inc
       City                             State       ZIP Code


3.77   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.27
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Sudden Link
       City                             State       ZIP Code


3.78   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.28
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Swift Financial Corp
       City                             State       ZIP Code


3.79   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      5.8
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Tascosa Office Machines
       City                             State       ZIP Code


3.80   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line      2.5
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Texas Workforce Commission
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.81   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         2.6
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Texas Workforce Commission
       City                             State       ZIP Code


3.82   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.30
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    The Degrasse Law Firm PC
       City                             State       ZIP Code


3.83   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.31
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Transworld Systems Inc
       City                             State       ZIP Code


3.84   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                        4.32
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    US Foods
       City                             State       ZIP Code


3.85   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.33
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Vista Bank
       City                             State       ZIP Code


3.86   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.34
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Waste Connections
       City                             State       ZIP Code




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Debtor 1      Pamela Renee Riley                                         Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.87   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                                         5.9
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Waste Connections Inc.
       City                             State       ZIP Code


3.88   Riley, Jr., William Steven
       Name                                                                      Schedule D, line      2.4
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Wells Fargo Auto
       City                             State       ZIP Code


3.89   Riley, Jr., William Steven
       Name                                                                      Schedule D, line      2.5
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Wells Fargo Home Mortgage
       City                             State       ZIP Code


3.90   Riley, Jr., William Steven
       Name                                                                      Schedule D, line      2.6
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Wells Fargo Home Mortgage
       City                             State       ZIP Code


3.91   Riley, Jr., William Steven
       Name                                                                      Schedule D, line      2.7
       7503 Homestead                                                            Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Wells Fargo Home Mortgage
       City                             State       ZIP Code


3.92   Riley, Jr., William Steven
       Name                                                                      Schedule D, line
       7503 Homestead                                                            Schedule E/F, line     4.35
       Number        Street
                                                                                 Schedule G, line

       Lubbock                          TX          79424                    Zachary & Marcie Miller
       City                             State       ZIP Code




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 Fill in this information to identify your case:
     Debtor 1              Pamela               Renee                  Riley
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Cost Analyst
      Include part-time, seasonal,
      or self-employed work.            Employer's name        X Fab Texas

      Occupation may include            Employer's address     2301 N University Ave
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Lubbock                      TX       79424
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        Rehired 6/10/19

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $8,385.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $8,385.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Pamela Renee Riley                                                                                               Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $8,385.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.           $1,314.13
     5b. Mandatory contributions for retirement plans                                                       5b.               $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.               $0.00
     5d. Required repayments of retirement fund loans                                                       5d.               $0.00
     5e. Insurance                                                                                          5e.            $317.00
     5f. Domestic support obligations                                                                       5f.               $0.00
     5g. Union dues                                                                                         5g.               $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $1,631.13
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $6,753.87
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify: Anticipated Child Support                                                                 8h. +         $1,000.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $1,000.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $7,753.87 +                      =                                                $7,753.87
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $7,753.87
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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Debtor 1      Pamela Renee Riley                                                      Case number (if known)
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Hopefully he will pay child support
           Yes. Explain:




Official Form 106I                                      Schedule I: Your Income                                          page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Pamela                 Renee                  Riley                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 15
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Daughter                            13
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Pamela Renee Riley                                                       Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $351.88
     6b. Water, sewer, garbage collection                                                           6b.                   $155.76
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $325.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $500.00
8.   Childcare and children's education costs                                                       8.                    $850.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $25.00
10. Personal care products and services                                                             10.                    $25.00
11. Medical and dental expenses                                                                     11.                    $35.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $210.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                  $126.23
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Pamela Renee Riley                                                               Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $2,603.87
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $2,603.87

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.             $7,753.87
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $2,603.87
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.             $5,150.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:
 Debtor 1           Pamela              Renee                Riley
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Pamela Renee Riley                               X
        Pamela Renee Riley, Debtor 1                           Signature of Debtor 2

        Date 06/28/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Pamela                Renee                 Riley
                    First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1       Pamela Renee Riley                                                        Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,            $10,000.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,     $30,000.00 (est.)       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $45,235.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Pamela Renee Riley                                                            Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Wells Fargo Auto                                                                  $2,020.00           $42,204.00             Mortgage
Creditor's name                                                                                                              Car
                                                               5/5/19; 5/31/19
MACT 9017-026                                                                                                                Credit card
Number      Street
                                                                                                                             Loan repayment
P.O. Box 168048
                                                                                                                             Suppliers or vendors
Irving                               TX       75016                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1       Pamela Renee Riley                                                            Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                               Status of the case
IMOMO William Riley & Pamela              Divorce filed on or about 2/1/19
                                                                                                                                              Pending
Riley                                                                                 Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number                                                                                                                                   Concluded

                                                                                      Lubbock                    TX      79401
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Vista Bank vs. William & Pam              Suit on Account
                                                                                                                                              Pending
Riley dba Neighborhood                                                                Court Name
Academy                                                                                                                                       On appeal
                                                                                      Number     Street
Case number                                                                                                                                   Concluded

                                                                                      Lubbock                    TX      79401
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
American Express Natl Bank vs Suit on Account                                         237th District Court of Lubbock
                                                                                                                                              Pending
Neighborhood Academy, Inc &                                                           Court Name
William S. Riley, Jr                                                                                                                          On appeal
                                                                                      Number     Street
Case number 2018533306                                                                                                                        Concluded

                                                                                      Lubbock                    TX      79401
                                                                                      City                       State   ZIP Code




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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Debtor 1         Pamela Renee Riley                                                        Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 5
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Debtor 1       Pamela Renee Riley                                                          Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Elizabeth S. Huffman                                 $1500 for attorney fees plus $310 for filing               or transfer was     payment
Person Who Was Paid                                  fees                                                       made

Attorney at Law                                                                                                    06/27/2019           $1,500.00
Number      Street

1706 14th Street

Lubbock                       TX       79401-3826
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Dollar Learning Foundation                           Pre filing credit counseling                               or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                   6/27/2019             $9.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1        Pamela Renee Riley                                                          Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                      Description and value of any           Describe any property or payments          Date transfer
Sandoval-Ovehrholser LLC                              property transferred                   received or debts paid in exchange         was made
Person Who Received Transfer                          Inventory, furnishings, fixtures,      Business sold at a loss, but                 3/11/2019
3305 83rd St                                          equipment, goodwill, etc of            believe sold for FMV; buyers
Number      Street                                    Neighborhood Academy                   assumed approx. liabilities of
                                                                                             $81997.92; no money paid to
                                                                                             sellers at closing
Lubbock                         TX      79423
City                            State   ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Vista Bank
Name of Financial Institution
                                                      XXXX-                            Checking
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
Lubbock                         TX      79424
City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Lubbock National Bank
Name of Financial Institution
                                                      XXXX-                            Checking
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
Lubbock                         TX
City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1        Pamela Renee Riley                                                          Case number (if known)

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

            No
            Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                 Who else has or had access to it?           Describe the contents               Do you still
                                                                                                                                 have it?

A Plus Storage                                   William S. Riley, Jr.                       Business items; no longer have          No
Name of Storage Facility                         Name                                        this unit                               Yes
10410 Slide Rd
Number       Street                              Number    Street




Lubbock                    TX      79424
City                       State   ZIP Code      City                    State   ZIP Code


  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

            No
            Yes. Fill in the details.


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
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Debtor 1       Pamela Renee Riley                                                              Case number (if known)

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Neighborhood Academy                             Montessori school/daycare                           Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 3     2 – 0         1    2   7   5   8    1
10101 Slide Rd, Ste 700                          Name of accountant or bookkeeper
Number     Street
                                                 David Hettler CPA                                   Dates business existed

                                                                                                     From        2008             To   2019
Lubbock                   TX      79424
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
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Debtor 1     Pamela Renee Riley                                                     Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Pamela Renee Riley                              X
   Pamela Renee Riley, Debtor 1                           Signature of Debtor 2

   Date     06/28/2019                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 10
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF TEXAS
                                                                  LUBBOCK DIVISION
In re Pamela Renee Riley                                                                                                            Case No.

                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,700.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,200.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   06/28/2019                         /s/ Elizabeth S. Huffman
                      Date                            Elizabeth S. Huffman                       Bar No. 00787734
                                                      Elizabeth S. Huffman
                                                      Law Office of Elizabeth S. Huffman
                                                      1706 14th Street
                                                      Lubbock, TX 79401-3826
                                                      Phone: (806) 762-2744 / Fax: (806) 762-1143




    /s/ Pamela Renee Riley
   Pamela Renee Riley
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION
  IN RE:   Pamela Renee Riley                                                      CASE NO

                                                                                   CHAPTER     13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/28/2019                                           Signature    /s/ Pamela Renee Riley
                                                                     Pamela Renee Riley



Date                                                     Signature
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                          A Plus Storage
                          10410 Slide Rd
                          Lubbock, TX 79424



                          Air Evac Lifeteam
                          1001 Boardwalk Springs Place
                          #250
                          O'Fallon, MO 63368


                          Allstate Auto Insurance
                          P.O. Box 660598
                          Dallas, TX 75266



                          American Express
                          777 American Expressway
                          Ft. Lauderdale, FL 33337-0001



                          Atmos Energy
                          Attn: Bankruptcy Group
                          P.O. Box 650205
                          Dallas, TX 75265-0205


                          Barrett Daffin Frappier et al
                          xxx4410
                          4004 Belt Line Rd, Ste 100
                          Addison, TX 75001


                          Canon Financial
                          P.O. Box 5008
                          Mt. Laurel, NJ 08054



                          Capital One
                          xxxxxxxx9707
                          P.O. Box 30285
                          Salt Lake City, UT    84130-0285


                          Capital One
                          xxxxxxxx2972
                          P.O. Box 30285
                          Salt Lake City, UT    84130-0285
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                          Chad Smith
                          Attorney at Law
                          8008 Slide Road, Ste. 33
                          Lubbock, TX 79424-2828


                          Collectech Diversified
                          xxxxxxxxx2119
                          P.O. Box 12027
                          Lubbock, TX 79452


                          Complete Payment Recovery Serv
                          xxxxx9856
                          3500 5th St
                          Northport, AL 35476


                          Cook Children's Pediatric
                          410 Lone Star Drive
                          Abilene, TX 79602



                          Covenant Health System
                          xxxxxxx2380
                          P.O. Box 1201
                          Lubbock, TX 79408-1201


                          Culligan of Lubbock
                          6024 43rd Street
                          Lubbock, TX 79407



                          Custom Electronics
                          1214 18th Street
                          Lubbock, TX 79401



                          David & Sherelle Vaughn
                          3808 54th Street
                          Lubbock, TX 79413



                          Diane Lara
                          2609 Colgate Street
                          Lubbock, TX 79415
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                          Elizabeth S. Huffman
                          Attorney at Law
                          1706 14th Street
                          Lubbock, TX 79401-3826


                          Falcon Emergency Physicians
                          1900 Pine St
                          Abilene, TX 79601



                          Ford Credit
                          xxxx7901
                          Customer Service Center
                          P.O. Box 542000
                          Omaha, NE 68154-8000

                          Ford Motor Credit Company, LLC
                          xxxx7901
                          P.O. Box 62180
                          Colorado Springs, CO 80962


                          Hendrick Medical Center
                          P.O. Box 3117
                          Abilene, TX 79604



                          IRS
                          P.O. Box 7346
                          Philadelphia, PA    19101-7346



                          IRS-Central Insolvency Operation
                          P.O. Box 7346
                          Philadelphia, PA 19101-7346



                          Kohls/Chase
                          xxxxxxxx7114
                          P.O. Box 3115
                          Milwaukee, WI    53201-3115


                          LP & L
                          City of Lubbock/Atty's Office
                          P.O. Box 2000
                          Lubbock, TX 79457
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                          Lubbock Central Appr. Dist.
                          xxx4749
                          C/o Laura J. Monroe
                          P.O. Box 817
                          Lubbock, TX 79408

                          Lubbock National Bank
                          P.O. Box 6100
                          Lubbock, TX 79493-6100



                          Merrick Bank
                          xxxxxxxx7397
                          P.O. Box 9201
                          Old Bethpage, NY    11804-9201


                          Nelnet/US Dept of Education
                          x7471
                          P.O. Box 82561
                          Lincoln, NE 68501-2561


                          Pamela Renee Riley
                          9706 Wayne Avenue
                          Lubbock, TX 79424-4817



                          Progressive Insurance
                          6300 Wilson Mills Rd
                          Mayfield Village, OH 44143



                          R. Michael McCauley, Jr.
                          McWhorter, Cobb & Johnson
                          P.O. Box 2547
                          Lubbock, TX 79408-2547


                          Radiology Assoc of Abilene
                          401 Cypress #10
                          Abilene, TX 79601



                          Reagan Durham
                          304 LaSalle Dr
                          Clovis, NM 88101
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                          Robert B. Wilson
                          6308 Iola Ave, Ste. 100
                          Lubbock, TX 79424-1980



                          Scholastic Book Clubs
                          1501 S Loop 289
                          Lubbock, TX 79423



                          South Taylor EMS
                          1458 CR 314
                          Abilene, TX 79606



                          Stonemark Inc
                          8501 Wade Blvd, Ste 620
                          Frisco, TX 75034



                          Sudden Link
                          6710 Hartford Avenue
                          Lubbock, TX 79413



                          Swift Financial Corp
                          501 Carr Rd, Ste 301
                          Wilmington, DE 19809



                          Target Bankruptcy Department
                          xxxxxxxx8364
                          P.O. Box 1327
                          Minneapolis, MN 55440


                          Tascosa Office Machines
                          1502 Avenue Q
                          Lubbock, TX 79401



                          Texas Workforce Commission
                          Attn: Rick Diaz
                          101 E 15th St, Rm 556
                          Austin, TX 78778-0001
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                          The Degrasse Law Firm PC
                          xxxx4236
                          1800 Bering, Ste. 1000
                          Houston, TX 77057


                          Transworld Systems Inc
                          xxxx2869
                          P.O. Box 15618
                          Wilmington, DE 19850-5618


                          US Foods
                          915 E 50th Street
                          Lubbock, TX 79404



                          Vista Bank
                          4515 98th Street
                          Lubbock, TX 79424



                          Waste Connections
                          5813 E FM 40
                          Lubbock, TX 79403



                          Waste Connections Inc.
                          P.O. Box 2782
                          Lubbock, TX 79408



                          Wells Fargo Auto
                          xxxxxxxx5923
                          MACT 9017-026
                          P.O. Box 168048
                          Irving, TX 75016

                          Wells Fargo Home Mortgage
                          P.O. Box 10335
                          Des Moines, IA 50306



                          William Riley, Jr.
                          7503 Homestead Ave
                          Lubbock, TX 79424
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                          William Riley, Jr.
                          7503 Homestead
                          Lubbock, TX 79424



                          William Steven Riley, Jr.
                          7503 Homestead
                          Lubbock, TX 79424



                          William T. Neary
                          1100 S Commerce St., Room 9C60
                          Dallas, TX 75242



                          Zachary & Marcie Miller
                          c/o Wagstaff LLP
                          P.O. Box 360
                          Abilene, TX 79604
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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Pamela                  Renee                Riley                       According to the calculations required by this
                    First Name              Middle Name          Last Name                   Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name          Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00                $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1          Debtor 2
     Gross receipts (before all                  $3,333.33               $0.00
     deductions)
     Ordinary and necessary operating      –     $2,666.67   –           $0.00
     expenses                                                                    Copy
     Net monthly income from a business,           $666.66               $0.00 here            $666.66                 $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1          Pamela Renee Riley                                                                                                   Case number (if known)

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00                           $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –                $0.00
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                           $0.00 here                            $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00            $0.00
8.    Unemployment compensation                                                                                                                    $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00            $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $666.66    +        $0.00   =       $666.66
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                            $666.66
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –       $0.00




Official Form 122C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
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Debtor 1      Pamela Renee Riley                                                                                                   Case number (if known)

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                  $666.66

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                                  $666.66
                                              ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                 X         12

    15b.                                                                                                                                                            $7,999.92
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                          Texas
    16b.    Fill in the number of people in your household.                                                    3

    16c.                                                                                                                                                             $72,271.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                       $666.66
                                                                                              ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                                   $666.66

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                                $666.66
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                          X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                              $7,999.92

    20c.                                                                                                                                                 $72,271.00
            Copy the median family income for your state and size of household from line 16c. .......................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                      page 3
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Debtor 1    Pamela Renee Riley                                                           Case number (if known)

 Part 4:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Pamela Renee Riley                                               X
        Pamela Renee Riley, Debtor 1                                             Signature of Debtor 2

        Date 6/28/2019                                                           Date
             MM / DD / YYYY                                                             MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                        page 4
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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                                 LUBBOCK DIVISION
                                                                    §
IN RE:
                                                                    §
Pamela Renee Riley                                                  §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      13


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.


Date: 6/28/2019                   /s/ Pamela Renee Riley
                                  Pamela Renee Riley
                                  Debtor
                                  Soc. Sec. No. xxx-xx-9029

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 6/28/2019                                                     /s/ Elizabeth S. Huffman
                                                                    Elizabeth S. Huffman, Attorney for Debtor
